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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:17CR3024

      vs.
                                                            ORDER
RAUL AMEZCUA,

                  Defendants.


      Defendant has moved to continue the trial currently set for June 5, 2017.
(Filing No. 37). As explained in the motion, Defendant needs additional time to
investigate this case and prepare for trial. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should
be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 37), is granted.

      2)    The trial of this case is set to commence before the Honorable John
            M. Gerrard, United States District Judge, in Courtroom 1, United
            States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on July 31,
            2017, or as soon thereafter as the case may be called, for a duration
            of five (5) trial days. Jury selection will be held at commencement of
            trial.

      3)    Based upon the showing set forth in Defendant’s motion and the
            representations of counsel, the Court further finds that the ends of
            justice will be served by continuing the trial; and that the purposes
            served by continuing the trial date in this case outweigh the interest
            of Defendant and the public in a speedy trial. Accordingly, the
            additional time arising as a result of the granting of the motion, the
            time between today’s date and July 31, 2017, shall be deemed
            excludable time in any computation of time under the requirements
            of the Speedy Trial Act, because although counsel have been duly
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          diligent, additional time is needed to adequately prepare this case
          for trial and failing to grant additional time might result in a
          miscarriage of justice. 18 U.S.C. § 3161(h)(1) & (h)(7). Failing to
          object to this order as provided under the court’s local rules will be
          deemed a waiver of any right to later claim the time should not have
          been excluded under the Speedy Trial Act.


    Dated this 3rd day of June, 2017.

                                            BY THE COURT:

                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge




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